Case 3:17-cv-00772-RDM Document 48 Filed 11/28/17 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

OLGA DEMYANENKO-TODD, et al.,

Plaintiffs, :
V. : 3:17-CV-772
(JUDGE MARIANI)
NAVIENT CORPORATION, et al.,
Defendants.
ORDER

The background of this Order is as follows:

Plaintiffs originally filed a Complaint in the above captioned matter on May 1, 2017.
(Doc. 1). On July 10, 2017, Defendants filed a Motion to Dismiss. (Doc. 17). After the
Court granted several motions which gave Plaintiffs additional time in which to respond to
the Motion to Dismiss, (Docs. 19, 25), Plaintiff filed an Amended Complaint on August 21,
2017, (Doc. 26). Defendants have since refiled their Motion to Dismiss in response to
Plaintiffs’ Amended Complaint. (Doc. 27).

AND NOW, THIS 2 Ubay OF NOVEMBER, 2017, in light of the above, IT IS
HEREBY ORDERED THAT Defendants’ original Motion to Dismiss, (Doc. 17), is

DISMISSED AS MOOT. .

Mf

 

Robert B-Marian
United States District Judge

 
